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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DA-NAY MACKLIN,                                  )
                                                 )
       Plaintiff,                                )
                                                 )
       vs.                                       )      No. 09CV0966
                                                 )
AMERICAN CORADIUS                                )
INTERNATIONAL, LLC,                              )
                                                 )
       Defendant.                                )




                                NOTICE OF SETTLEMENT
                             (Unlawful Debt Collection Practices)


                                   NOTICE OF SETTLEMENT


       NOW COMES the Plaintiff, DA-NAY MACKLIN, by and through the undersigned

counsel and hereby informs the court that a settlement of the present matter has been reached and

is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the

next 30 days.

       Plaintiff therefore requests that this honorable court vacate all dates currently set on

calendar for the present matter.

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                                    NOTICE OF SETTLEMENT
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                               Respectfully Submitted,


DATED: February 19, 2009              KROHN & MOSS, LTD.


                               By:___/s/Adam T. Hill_________________
                                      Adam T. Hill
                                      KROHN & MOSS, LTD.
                                      Attorney for Plaintiff
                                      120 W. Madison St., 10th Fl.
                                      Chicago, Illinois 60602
                                      (312) 578-9428




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                             NOTICE OF SETTLEMENT
